Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4147 Filed 03/26/25 Page 1 of 21




                     EXHIBIT E
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4148 Filed 03/26/25 Page 2 of 21


                                         EXHIBIT

                                       #2   3-4-25   SB
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4149 Filed 03/26/25 Page 3 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4150 Filed 03/26/25 Page 4 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4151 Filed 03/26/25 Page 5 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4152 Filed 03/26/25 Page 6 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4153 Filed 03/26/25 Page 7 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4154 Filed 03/26/25 Page 8 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4155 Filed 03/26/25 Page 9 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4156 Filed 03/26/25 Page 10 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4157 Filed 03/26/25 Page 11 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4158 Filed 03/26/25 Page 12 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4159 Filed 03/26/25 Page 13 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4160 Filed 03/26/25 Page 14 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4161 Filed 03/26/25 Page 15 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4162 Filed 03/26/25 Page 16 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4163 Filed 03/26/25 Page 17 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4164 Filed 03/26/25 Page 18 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4165 Filed 03/26/25 Page 19 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4166 Filed 03/26/25 Page 20 of 21
Case 4:22-cv-11009-FKB-DRG ECF No. 134-6, PageID.4167 Filed 03/26/25 Page 21 of 21
